
Kinsey C. J.
declined giving an opinion having been retained while at the bar for one of the parties, in two former attempts to lay the same road.
Chetwood J.
said, the fact is that the nearest township has been passed over on account of the sickness of Cooper, and Thorne from the next nearest township acted in his place,,
Now the words of the law are clear and explicit. They require that the six surveyors from the next county, must eome “ from the townships nearest the line of the place where the alteration is to be made.
*130It is true that in the case of sickness an inconvenience may happen; but this is exclusively a matter for Legislative consideration: — We are here to declare the law, and cannot de« cicle against the express words of it. The Legislature has declared who are to be the judges, by unequivocal words;— they are to be the surveyors chosen for the nearest township, we have no authority to frame a proviso to the act, and declare that under certain circumstances, and in peculiar cases they may come from townships not the nearest: — this would be to assume Legislative powers. The return must be quashed.
Smith J. — concurred.
